           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:09CR13-15

UNITED STATES OF AMERICA,                             )
                                                      )
Vs.                                                   )               ORDER
                                                      )
ERIN MARIE RENISON.                                   )
__________________________________                    )

        THIS MATTER is before the court upon Robert C. Carpenter’s Motion to

Withdraw as Counsel. Having considered Robert C. Carpenter’s Motion to Withdraw

as Counsel and reviewed the pleadings, and it appearing that good cause has been

shown for the relief sought, that the defendant has retained counsel and, as a result

the court enters the following Order.



                                        ORDER

        IT IS, THEREFORE, ORDERED that Robert C. Carpenter’s Motion to

Withdraw as Counsel is GRANTED, and Robert C. Carpenter is RELIEVED from

further representation of defendant in this matter.
                                          Signed: March 3, 2009




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